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                                                             Wednesday, 24 October, 2018 01:47:12 PM
                                                                         Clerk, U.S. District Court, ILCD

                IN THE UNITED STATES DISTRICT COURT FOR THE
                        CENTRAL DISTRICT OF ILLINOIS
                              URBANA DIVISION

BROADCAST MUSIC, INC.; SONGS OF                     )
UNIVERSAL, INC.; BENNY BIRD COMPANY,                )
INC.; ARC MUSIC CORP.; EMI                          )
BLACKWOOD MUSIC INC.; TOKECO                        )
TUNES; UNIVERSAL-SONGS OF                           )
POLYGRAM INTERNATIONAL, INC.; STILL                 )
WORKING FOR THE MAN MUSIC, INC.;                    )
TURN ME ON MUSIC; SHOWBILLY MUSIC;                  )
BUZZARD ROCK MUSIC; WARNER-                         )
TAMERLANE PUBLISHING CORP.; SONGS                   )
FROM THE ENGINE ROOM;                               )
WARNER/CHAPPELL MUSIC INC. d/b/a                    )
SOUTHSIDE INDEPENDENT MUSIC                         )
PUBLISHING; KICKIN GRIDS MUSIC;                     )       Case No. 2:18-cv-2100
COMBUSTION III LLC d/b/a INTERNAL                   )
COMBUSTION MUSIC; SONGS OF THE                      )       Hon. Colin S. Bruce
CORN; AGAINST THE WIND PUBLISHING,                  )
                                                    )       Mag. J. Eric I. Long
                 Plaintiffs,                        )
                                                    )
       v.                                           )
                                                    )
‘CAFE’ CABANA AND SHOVELHEAD                        )
SALOON, LLC a/k/a CAFÉ CABANA AND                   )
SHOVELHEAD SALOON, LLC d/b/a CAFÉ                   )
CABANA SHOVELHEAD SALOON; and                       )
MORRIS DEAN TROSPER, II; and LIA                    )
MARIE TROSPER, each individually,                   )
                                                    )
                 Defendants.                        )


               PLAINTIFFS’ RESPONSE TO ORDER TO SHOW CAUSE

       Plaintiffs respectfully respond to the Order to Show Cause entered on October 11, 2018,

as follows:

       1.     This action for copyright infringement was filed against corporate defendant

‘Cafe’ Cabana and Shovelhead Saloon, LLC (“the Corporate Defendant”) and individual
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defendants Morris Dean Trosper, II and Marie Trosper (“the Trosper Defendants”) on April 6,

2018. (ECF 1.)

       2.      The Trosper Defendants were served with summons and a copy of the Complaint

on April 20, 2018. (ECF 8, 9.) Their response to the Complaint was due on May 11, 2018. (Id.)

The Corporate Defendant was served with summons and a copy of the Complaint on April 23,

2018. (ECF 7.) Its response to the Complaint was due on May 14, 2018. (Id.) No response to

the Complaint has been filed by any of the Defendants.

       3.      On May 22, 2018, Mr. Trosper reached out directly to a BMI representative to

discuss the case. Upon learning of this communication, counsel for Plaintiffs called Mr. Trosper

by telephone to discuss the case. Mr. Trosper stated that he had not retained counsel to represent

him or any of the Defendants in this action. Counsel for Plaintiff discussed the terms of a

settlement offer with Mr. Trosper.

       4.      On May 24, 2018, counsel for Plaintiffs and Mr. Trosper had another telephone

conversation to discuss the settlement offer. Mr. Trosper stated again that he had not retained

counsel to represent him or any of the Defendants in this action.

       5.      On May 29, 2018, counsel for Plaintiffs emailed a copy of the BMI Music

License for Eating and Drinking Establishments (“the EDE License”) and provided information

regarding the EDE License. Counsel for Plaintiffs asked Mr. Trosper whether he had been able

to engage counsel to represent the Defendants in this action.

       6.      On May 31, 2018, Mr. Trosper responded by email requesting guidance with the

EDE License and stating that he had “an attorney on stand by [sic] if [he] can not [sic] work it

out on [his] own, which is what [he’d] rather do.”




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       7.      Between June 7 and October 8, 2018, counsel for Plaintiffs and Mr. Trosper have

had ongoing discussions regarding the EDE License and the other terms of the settlement offer.

The parties have been unable to make any meaningful progress toward reaching an agreement on

the EDE License and the additional terms of the settlement offer. The parties’ positions are so

far apart that further settlement talks appear pointless.

       8.      In view of the foregoing, good cause exists to vacate the Order to Show Cause

and not dismiss the case for want of prosecution.

       9.      Plaintiffs propose that the Court set an early deadline for Defendants to file an

answer to the Complaint. If Defendants fail to file an answer by that deadline, Plaintiffs further

propose that the Court enter default against all Defendants under Rule 55(a) of Federal Rules of

Civil Procedure and set a deadline for Plaintiffs to apply for a default judgment under Rule

55(b)(2).

       THEREFORE, Plaintiffs respectfully request that the Court vacate the Order to Show

Cause and enter an Order setting an early deadline for Defendants to file an answer to the

Complaint and entering a default against each Defendant that fails to meet that deadline.

Dated: October 24, 2018                        Respectfully submitted,



                                               /s/ Gilberto E. Espinoza
                                               Charles A. Laff
                                               Gilberto E. Espinoza
                                               MICHAEL BEST & FRIEDRICH LLP
                                               444 West Lake Street, Suite 3200
                                               Chicago, Illinois 60606
                                               T: 312.222.0800; F: 312.222.0818
                                               calaff@michaelbest.com
                                               geespinoza@michaelbest.com

                                               Attorneys for Plaintiffs



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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of October 2018, a copy of the foregoing

document was filed electronically with the Court’s CM/ECF system and was served on the

following persons as indicated below.


Café Cabana and Shovelhead Saloon                    Via CM/ECF Service
12 S. College Street                                 Via First Class Mail
Danville, IL 61832                                   Via E-mail:
                                                     mlgenesisclean@gmail.com
Morris Dean Trosper II                               Via CM/ECF Service
Lia Marie Trosper                                    Via First Class Mail
15066 Catlin Tilton Rd.,                             Via E-mail:
Danville, IL 61834
                                                     mlgenesisclean@gmail.com


                                          /s/ Gilberto E. Espinoza
                                          Gilberto E. Espinoza




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